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                               Proposed Order Page 1 of 2



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
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Attorneys for the Debtors

In re:                                                 Case No. 08-14631(GMB)

SHAPES/ARCH HOLDINGS L.L.C., et al.,                   Judge: Gloria M. Burns

                Debtors.                               Chapter: 11


                   ORDER DISALLOWING AND EXPUNGING CLAIM
                     OF NEW JERSEY DIVISION OF TAXATION
         The relief set forth on the following page, numbered two (2), is hereby ORDERED.
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Shapes/Arch Holdings L.L.C., et al.

Case No. 08-14631 (GMB)

Order Expunging Claim of New Jersey Division of Taxation



         Upon consideration of the above-captioned debtors’ (the “Debtors”) objection to the

proof of claim filed by the New Jersey Division of Revenue (the “Objection”),1 any responses or

objections thereto, notice of the Motion appearing appropriate, and for cause shown, it is hereby

ORDERED:

         1.      That the Objection is SUSTAINED.

         2.      That the New Jersey Claim is hereby disallowed and expunged from the claims

register.




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1
  Unless otherwise defined herein, capitalized terms shall have the same meaning ascribed to
them in the Objection.

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